 8:17-cr-00676-JMC     Date Filed 01/30/18    Entry Number 483    Page 1 of 14




              IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE DISTRICT OF SOUTH CAROLINA
                          ANDERSON DIVISION


UNITED STATES OE AMERICA                     Crimi-nal No: 8:71-616

                                             PI.E:A AGREEIIENT
BARRY KING

                             General Provisions

     rhis    PLEA AGREEMENT    is   made     this 3 X/o^o        of
201-8, between the United States of America, as r                     resented by
United States Attorney BETH DRAKE, Assistant United States
Attorney Andrew B. Moorman, Sr.; the Defendant, Barry King,                     and

Defendant's Attorney, WilIiam EhIies, Esquire.
     IN   CONSf   DERATION   of t.he mutual promises made herei-n, the
parties agree as follows:
1.   The Defendant agrees to plead guilty                 to Count 1 of the
     Superseding Indictment now pending.
             a.    Count 1 charges that beginning at a time               unknown

                   to the Grand Jury, but beginning at least in
                   201,L, within the District         of South Carolina         and

                   elsewhere, the Defendant and others conspired to
                   Possess with the Intent to Distribute                500   grams

                   or more of a mixture or substance containing                   a

                   detectable amount of methamphetamine, a schedule



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8:17-cr-00676-JMC    Date Filed 01/30/18   Entry Number 483   Page 2 of 14




               II    controlled    substance, in violation        of Title
               21,     United      States     Code,     Section     841(a)   ,

               (b) (1) (A) , and 846.
   In order to sustain its burden of proof as to Count 1, the
   Government is required to prove the following:

   ONE:       The conspiracy described in the indictment was
              wi1lfu11y formed and was existing at or on about
              the alleged time; and,
   TWO:       The accused wiflfully           became a member of        the
               conspiracy.

   Possible Penalties Pursuant to Count 1-          in a case
   involving 500 grams or more of mixture or substance
   containing methamphetamine and no prior felony drug
   convictions - a minimum term of imprisonment of 10 years
   and a maximum term of Iife imprisonment, no probation, no
   parole, a fine of $10,000,000 and a term of supervised
   release of at .Ieast five (5) years in addition to any term
   of imprisonment, pfus a special assessment of 9100.


   The Defendant understands and agrees that monetary
   pena]-ties Ii.e., speciaf assessments, restitution, fines
   and other payments required under the sentencel imposed by
   the Court are due lmmediatety and subject to enforcement by
   the United States as crvil- judgments, pursuant to 18 USC S
   3613. The Defendant also understands that            payments made    in
   accordance wlth instaffment schedules set by the Court are
   minimum payments      only and d.o not preclude the          government

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8:17-cr-00676-JMC   Date Filed 01/30/18    Entry Number 483   Page 3 of 14




   from seeking to enforce the judgment against other assets
   of the defendant at any tlme, as provid.ed in 1g USC SS
   3612, 3613 and     3664 (m)   .


   The Defendant further agrees to enter into the Bureau of
   Prisons Inmate Financial Responsibility program if
   sentenced to a term of incarceration with an unsatisfied
   monetary pena.Ity. The Defendant further understands that
   any monetary penafty imposed is not dischargeable in
   bankruptcy.
         A.   Special Assessment: pursuant to 1g U.S.C.              S3013,
              the Defendant must pay a speciaf assessment of
              $100.00 for each felony count for which he is
              convicted, This speciaf assessment must be paid
              at. or before the time of the guitty plea hearing.
        B.    Restj.tution: The Defendant agrees to make fuff
              restitution under 18 U.S.C, S 3556 in an amount
              to be determined by the Court at the time of
              sentenci-ng, which amount is not f imit.ed to the
              count(s) to which the Defendant pled guilty, but
              wil-1 incfude restitution to each and every
              identifiable victim who may have been harmed by
              scheme or pattern of criminal actj-vity, pursuant
              to 18 u.s.c. s 3663. The Defend.ant agrees to



                                     -3-
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 8:17-cr-00676-JMC   Date Filed 01/30/18   Entry Number 483        Page 4 of 14




                cooperate      ful1y       with     the         Government in
                ldentifylng al1 victims.
          C.    Fines: The Defendant understands that the Court
               may impose a fine pursuant to              18    u.s.c. ss 3571
               and 3572.


3.   Provided the Defendant compfies with alf the terms of this
     Agreement, the United States agrees to move to dismiss the
     remaining counts of     the Indictment Iand any other
     indictments under this numberl at sentencing. The Defendant
     understands that the Court may consider these dismissed
     counts as relevant conduct pursuant to          S1B1      .3 of t.he United
     States Sentencing GuideLines.


4.   The Defendant understands that the obligations of the
     Government within       the Plea Agreement are expressly
     contingent upon the       Defendant,   s abiding by federaf             and

     state laws and complying with any bond executed in this
     case. In the event that the Defendant fails to comply with
     any of the provlsions of thj-s Agreement, e.ither express or
     implied, the    Government   will have the riqht, at its sole
     election, to void alf         of its         obligat.ions under this
     Agreement and the Defendant will             not have any right to



                                   -4-
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     8:17-cr-00676-JMC   Date Filed 01/30/18   Entry Number 483     Page 5 of 14




        w.ithdraw plea of       guilty    to          offense (s)     enumerated
        herein.

5.      The Defendant understands that the matter of sentencing is
        within     the sole discretlon         of the Court and that                the
        sentence appJ-icable to Defendant's case will                be       imposed
        after     the Court considers as advisory the United States
        Sentencing Commission Guj-deIines, Application                Notes         and

        Policy Statements, as welf as the factors set forth                          in
        Titfe     18, United States Code, Section            3553 (a)     .         The

        Defendant also understands that Defendant's sentence has not
        yet been determj-ned by the court, and that any estimate of
        a probable sentencing range Defendant may have received
        from Defendant's attorney,        the Government or the United
        States Probatlon Offj-ce is            only a prediction,             not    a

        promise, and is        not binding       on the     Government, the
        Probation Office      or the Court.          The Defendant further
       understands that the Government retains the right to inform
        the Court of any relevant facts, to address the Court with
        respect to the nature of the offense,                to     respond to
       questions raised by the Court, to correct any inaccuracies
       or lnadequacies in the presentence report, to respond to
       any statements made to the Court by or on behalf of the
       Defendant and to summarize afl            evidence which would           have




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     8:17-cr-00676-JMC    Date Filed 01/30/18    Entry Number 483      Page 6 of 14




        been presented at trial         to establish a factual basis for
        the plea.


6.      The Defendant agrees that af1 facts that determine his
        offense LeveI under the Guideli-nes and pursuant to any
        mandatory mlnimum (including               facts     that     support    any
        specific    offense characteristic          or other enhancement or
        adjustment) can be found by the court at sentencing by                        a

        preponderance of the evidence standard and the court                     may

        consider any reliable         evidence, includ.ing hearsay.               By

        executing this Agreement, the Defendant understands that                  he

        waives any argument that facts that determine his offense
        levef under the Guidel,ines and pursuant to any                   mand.atory
        minimum should be alfeged in an indictment and found by                       a

        jury beyond a reasonable doubt.


                         Cooperation and Forfeiture
7.      The Defendant agrees to be fu11y truthfu.I and forthright
       with federal, state and Iocaf faw enforcement agencies by
       providing ful1, complete and truthful               information about alf
        criminal    activities    about which he has knowledge.                  The

       Defendant must provide             full-,     complete and truthful
       debriefings about these unlawful activities                  and must fufly
       disclose and provide truthful            lnformatlon to the      Government


                                        -6-
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8:17-cr-00676-JMC   Date Filed 01/30/18   Entry Number 483   Page 7 of 14




   including any books, papers, or documents or any other
   items of evidentiary value to the investigation.        The
   Defendant must afso testify ful1y and truthfully before any
   grand juries and at any trials or other proceedings if
   calfed upon to do so by the Government, subject to
   prosecution for perjury for not testifying truthfully, The
   failure   of the Defendant to be ful]y truthfuf and
   forthright at any stage wil1, at the sole election of the
   Government, cause the obllgations of the Government within
   this Agreement to       become   null and void.       Further, it        1s
   expressly agreed that if the ob.Iigations of the covernment
   within this Agreement become nulf and void due to the fack
   of truthfufness on the part of the Defendant, the Defendant
   understands that:
         a.   the Defendant will not be permitted to withdraw
              plea of guifty t.o the offenses described above;
        b.    al] additional charges known to the Government
              may be filed in the appropriate district;

        c.    the   Government   wilf     argue for a maximum sentence
              for the offense to which the Defendant has
              pleaded gui 1ty,. and
        d.    the Government wift use any and afl information
              and testimony provided by the Defendant pursuant
              to    this    Agreement, or         any prior       proffer

                                  -7-                          bK
 8:17-cr-00676-JMC     Date Filed 01/30/18    Entry Number 483       Page 8 of 14




                   agreements, in the prosecution of the Defend.ant
                   of all charges   .




8.   The Defendant agrees to                  submit      to     such polygraph
     examinations as may be requested by the Government and.
     agrees t.hat any such examinations sha]l be performed. by a
     polygraph examiner sefected by the Government. Defendant
     further agrees that refusaf to take or faiLure to pass
     any    such polygraph          examlnation to             the   Government, s
     satisfaction      will    result,        at    the    covernment, s      sol-e
     discretion,     in the obligations of the covernment within the
     Agreement becoming nulf and void,



9.   The Government agrees that any s e.I f- incrimi nating
     information provided by the Defendant as a resuft of the
     cooperation requ.ired by the terms of this Agreement,
     although avaifable to the Court, wi1l not be used against
     the Defendant in determi.ning the Defendant, s applicable
     guideline range for sentencing pursuant to the U, S.
     Sentencing Commission Guidefines. The provisions of this
     paragraph shall not be appl-ied to restrict                       any    such
     information:
           a.   known   to the   Government        prlor to the date of thls
                Agrreement..


                                        -8-
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     8:17-cr-00676-JMC     Date Filed 01/30/18   Entry Number 483    Page 9 of 14




               b.    concerninq the existence of prior convictions               and
                     sentences;
               c.    in a prosecution for perjury or giving a false
                     statement; or
               d.    in the event the Defendant breaches any of the
                     terms of the Plea Agreement.


10      Provided     the       Defendant cooperates pursuant                to   the
        provisions of this Prea Agreement, and that cooperation is
        deemed by        the     Government as          providing     substantiar
        assistance in the investigation             or prosecution of another
        person who has committed an offense, the Government agrees
        to move the court for a         d.ownward   departure or reducti_on of
        sentence pursuant to united states sentencing Guidelines
        s5K1.1, Titre 18, united States code, g 3553(e) or                  Federal-
        Rule    of    Criminal      procedure       35 (b)   .    The Defendant
        understands that any such motion by the Government is not
        binding upon the court, and. should the court sentence the
        Defendant within        the Guidellnes,       to the     maxi-mum   penalty
       prescribed by law or refuse to reduce the sentence imposed,
        the Defendant wil-l have no right to withdraw his plea.




                                         -9-
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 8:17-cr-00676-JMC    Date Filed 01/30/18     Entry Number 483        Page 10 of 14




11. The Defendant agrees to voluntarily               surrender to, and. not
     to contest the forfeiture           by, the United States of            Amerj-ca
     of any and af1 assets and property, or portlons thereof,
     owned or purchased by the Defendant wh.ich are subject. to
     the forfeiture     pursuant to any provision of faw and which
     are in the possesslon or controf                 of the Defendant or
     Defendant's nominees.          The Defendant further               agrees to
     prevent the dlsbursement, re.Iocation or encumbrance of any
     such assets and agrees to fulIy assist the government in
    the recovery and return to the United States of any assets,
    or portions thereof, as descr.ibed. above, wherever located.
    The Defendant further agrees to make a ful-l and complete
    disclosure of al.I assets over which Defendant exercises
    control and those which are held or controlled by nominees.
    The Defendant further          agrees to submit to a polygraph
    examination on the lssue of                 assets if        it     is   deemed

    necessary by the United States.


12. The Defendant agrees to forfeit all interests in the
    properties as described above and. to take whatever steps
    are necessary to pass cfear titfe to the United States.
    These steps include, but are not fimited to, the surrender
    of titfe   and t_he signing of any other d.ocuments necessary
    to effectuate such transfers.             The Defendant agrees not to


                                    -   10-
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 8:17-cr-00676-JMC   Date Filed 01/30/18     Entry Number 483    Page 11 of 14




     object to any civil      forfeiture      proceedings brought against
     these properties pursuant to any provision of law and the
     Defendant further        understands that             any   such    civil-
    proceedings may properly be brought at any time before or
    after acceptance of Defendant's guilty               p.Iea in this matter
    and agrees to waive any double jeopardy claims he may have
    as a result      of the forfeiture            of these properties        as

    provided for by this Agreement,


                     lterser and Other provisiong
13. The Defendant represents to the court that he has met r^rith
    his attorney on a sufficient number of occasions and for a
    sufficient period of tj-me to discuss the Defendant,s case
    and receive advice; that the Defendant has been truthful
    with his attorney and rel-ated all information of which the
    Defendant is      aware pertaining to the case; that the
    Defendant and hls          attorney have discussed possibfe
    defenses, if      any, to the charges in the Indictment
    including the existence of any exculpatory or favorabLe
    evidence or witnesses, discussed the Defendantrs r.ight to                   a

    public trial     by jury or by the Court, the right to the
    assistance of counse] throughout the proceedings/ the right
    to call witnesses in the              Defend.ant,   s behaff and. compel
    their attendance at trial              by subpoena, the riqht           to

                                   -11-


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 8:17-cr-00676-JMC    Date Filed 01/30/18   Entry Number 483     Page 12 of 14




     confront and cross-examine the government,s witnesses, the
     Defendant's right to testify in own behalf, or to remaj,n
     silent and have no adverse inferences dravrn from silence;
     and that t.he Defendant, with the advice of counsel,                   has
    weighed the re.l-ative benefits of a trial          by jury or by the
    Court versus a plea of guilty           pursuant to this Aqreement,
    and has entered this            Agreement as a matter              of   the
    Defendant's free and vofuntary choice, and not as a result
    of pressure or lntimidation by any person.


L4. The Defendant is aware that 18 U.S.C. S            31   42 and 28 U.S.C.
    S 2255 afford every defendant certain rights to contest                      a

    conviction and,/or sentence.            Acknowledging those rights,
    the Defendant, in exchange for the concessions made by the
    Government rn this        Plea Agreement, waives the right               to
    contest either the conviction or the sentence in any dj-rect
    appeal or        other post-convictj-on action,            j-ncluding   any
    proceedings under 28 U.S.C. S 2255. (This waiver does not
    apply to claims of ineffective             assistance of counsel or
    prosecutorial      misconduct raised pursuant to 28 U,S.C.                   S

    2255, or     future     changes in       the law that         affect    the
    defendant's sentence. )        This Agreement does not affect the
    rights or obligations of the Government as set forth in                  1g




                                    -12-
 8:17-cr-00676-JMC   Date Filed 01/30/18   Entry Number 483   Page 13 of 14




     U.S.C. S 3742(b). Nor does it          fimit   the covernment in its
     comments   in or responses to any post-sentencing matters.


15. The Defendant waives all rights, whether asserted directly
    or by a representative, to request or receive from any
    department or agency of the Unit.ed States any records
     pertaining to the investigation or prosecution of t.his
     case, i-ncluding without limitation any records that may be
     sought under the Preedom of Information Act, 5 U.S.C.                    S

     552, or the Privacy Act of L974, 5 U.S.C. S 552a.


76. The parties hereby agree that. this pfea Agreement contains
    the entlre agreement of the parties; that this Agreement
     supersedes alI        prior     promises, representations           and
     statements of Lhe parties; that this Agreement shaff not             be

    binding on any party until the Defendant lenders a pl-ea of
    guilty to the court having jurisdiction over this matter;
    that this Agreement may be modified onl-y in writing signed
    by aff parties; and that any and afl other promises,
    representations and statements, whet.her made prior to,
    contemporaneous with or after thi,s Agreement, are nulf and
    void.




                                   -13-
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 8:17-cr-00676-JMC   Date Filed 01/30/18   Entry Number 483   Page 14 of 14




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                             ATTORNEY EOR DEFENDANT


                             BETH DRAKE
                             UNITED STATES ATTORNEY



                            huoRnw B. MooRMAN, sR. (#10013)
                            ASSISTANT UNITED STATES ATTORNEY




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